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Case 2:04-cv-02788-BBD-dkv Document3 Filed 05/18/05 Pagelof 19 Page|D
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

LATISHA JONES,
Plaintiff,
vS. No. O4-2788-D/V

STATE oF TENNESSEE, et ai.,

Defendants.

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ORDER CORRECTING THE DOCKET
ORDER ASSESSING $150 FILING FEE
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN lN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff Latieha Jonee, booking number 03206488,1 an
inmate at the Shelby County Jail (East) (“Jail East”) in Memphis,2
filed a Q;Q §§ complaint pursuant to 42 U.S.C. § 1983 on September
29, 2004. The Clerk Sball record the defendants as the State of
Tennessee, Commander Israel, and Shelby County Sheriff Mark

Luttrell.

 

1 In order to facilitate the delivery of mail, the Clerk is ORDERED to
correct the docket to include the plaintiff’S booking number.

2 The word “prison” is used in this order to refer to all places of
confinement or incarceration, including jailS, penal farms, detention and
classification facilities, or halfway houses.

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with Rule 58 and¢or 79(&) FRCP on 59 "@§

 

Case 2:04-cv-02788-BBD-dkv Document 3 Filed 05/18/05 Page 2 of 19 Page|D 2

I. Assessment of Filing Fee

Under the Prison Litigation Reform Act of 1995 (“PLRA”),
28 U.S.C. § 1915(b), all prisoners bringing a civil action must pay
the full filing fee of $150 required by 28 U.S.C. § l9l4(a).3 The
in_fgrma pauperis statute, 28 U.S.C. § 1915(a), merely provides the
prisoner the opportunity to make a “downpayment” of a partial
filing fee and pay the remainder in installments.

ln this case, plaintiff has properly completed and
submitted both an in fg;ma pauperis affidavit and a trust fund
account statement. Pursuant to 28 U.S.C. § l9lB(b)(l), it is
ORDERED that the plaintiff cooperate fully with prison officials in
carrying out this order. lt is further ORDERED that the trust fund
officer at plaintiff’s prison shall calculate a partial initial
filing fee equal to twenty percent (20%) of the greater of the
average balance in or deposits to the plaintiff’s trust fund
account for the six months immediately preceding the completion of
the affidavit. When the account contains any funds, the trust fund
officer shall collect them and pay them directly to the Clerk of
Court. lf the funds in plaintiff’s account are insufficient to pay
the full amount of the initial partial filing fee, the prison
official is instructed to withdraw all of the funds in the
plaintiff’s account and forward them to the Clerk of Court. On each

occasion that funds are subsequently credited to plaintiff's

 

3 Because the complaint was filed prior to March 7, 2005, the new $258

filing fee is inapplicable.

Case 2:04-cv-02788-BBD-dkv Document 3 Filed 05/18/05 Page 3 of 19 Page|D 3

account the prison official shall immediately withdraw those funds
and forward them to the Clerk of Court, until the initial partial
filing fee is paid in full.

lt is further ORDERED that after the initial partial
filing fee is fully paid, the trust fund officer shall withdraw
from the plaintiff's account and pay to the Clerk of this Court
monthly payments equal to twenty percent (20%) of all deposits
credited to plaintiff's account during the preceding month, but
only when the amount in the account exceeds $l0.00, until the
entire $lB0.00 filing fee is paid.

Each time that the trust fund officer makes a payment to
the Court as required by this order, he shall print a copy of the
prisoner's account statement showing all activity in the account
since the last payment under this order and file it with the Clerk
along with the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

and shall clearly identify plaintiff's name and the case number on
the first page of this order.

If plaintiff is transferred to a different prison or
released, she is ORDERED to notify the Court immediately of her
change of address. If still confined she shall provide the

officials at the new prison with a copy of this order.

Case 2:04-cv-02788-BBD-dkv Document 3 Filed 05/18/05 Page 4 of 19 Page|D 4

If the plaintiff fails to abide by these or any other
requirement of this order, the Court may impose appropriate
sanctions, including a monetary fine, without any additional notice
or hearing by the Court.

The Clerk shall mail a copy of this order to the prison
official in charge of prison trust fund accounts at plaintiff's
prison. The Clerk is further ORDERED to forward a copy of this
order to the Director of the Jail East to ensure that the custodian
of the plaintiff's inmate trust account complies with that portion
of the PLRA pertaining to the payment of filing fees.

The obligation to pay this filing fee shall continue
despite the immediate dismissal of this case. 28 U.S.C. §
l9lB(e)(2). The Clerk shall not issue process or serve any papers
in this case.

ll. Analvsis of Plaintiff's Claims

The complaint in this case is unclear, as the plaintiff
has not attempted to enumerate each of the claims she seeks to
assert but, instead, asserts generally that her rights have been
violated since her incarceration at Jail East commenced on
September 9, 2003. Moreover, the plaintiff’s claims are largely
based on purported violations of the Tennessee Constitution and
excerpts from the Jail East inmate handbook, rather than the United

States Constitution and federal law as is required to state a claim

Case 2:04-cv-02788-BBD-dkv Document 3 Filed 05/18/05 Page 5 of 19 Page|D 5

pursuant to 42 U.S.C. § 1983. The claims specifically enumerated in
the complaint are as follows:

First, the plaintiff complains that she requested a list
of rules and procedures followed by the staff at Jail East, but her
request was denied.

Second, the plaintiff asserts that her legal mail was
opened by someone at the prison prior to delivery to her. This
occurred on September 3, 2003; on August 18, 2004; and on September
20, 2004.

Third, plaintiff alleges that, on or about July 2l, 2004,
plaintiff borrowed a bottle of lotion from another inmate named
Selena Brackett. A former cellmate of Brackett’s told corrections
officers that Brackett had hidden money in the lotion bottle. The
plaintiff and Brackett were moved to administrative segregation,
Brackett was presumably charged with the disciplinary offense of
possession of contraband, and the plaintiff was charged with the
disciplinary offense of conspiracy even though Brackett told.prison
officials that plaintiff did not know there was money in the
bottle. The plaintiff received thirty (30) days deadlock for this
offense. She allegedly wrote letters to various persons, including
defendant lsrael, but her letters were not answered.

Fourth, on June 8, 2004 plaintiff was moved to F-pod,
which houses inmates who are mentally ill, in protective custody,

or charged with disciplinary violations. Plaintiff is regularly

Case 2:04-cv-02788-BBD-dkv Document 3 Filed 05/18/05 Page 6 of 19 Page|D 6

awakened during the night by noise from other inmates, causing her
to feel stressed out and depressed. The lack of sleep is
particularly deleterious when she has a scheduled court date.

On August 5, 2004, plaintiff was moved to another cell,
which had a bloody mattress, blood on the walls, a dirty toilet,
table, and sink, and trash on the floor. Plaintiff asked Officer
Harris, who is not a party to this action, to let her clean up the
room, but Harris refused. Harris allegedly persisted in her refusal
even after Officer Winfree told her to let plaintiff clean the
room.

On August 7, 2004, plaintiff allegedly told Sergeant
Hubert about the incident involving Harris and stated that she did
not want to take her recreation time when Harris was on duty
because Harris apparently had a problem with her. Hubert allegedly
replied that she would speak to the commander.

On August ll, 2004, Harris allegedly let the plaintiff
out for recreation with two inmates who are mentally ill and who
had attacked two officers the previous week. When Harris took her
break, Sergeant Partee told the plaintiff she was not supposed to
be out with those inmates. Plaintiff was told to step into her cell
until the other inmates were returned, to their cells- Harris
allegedly returned after the other inmates were back in their
cells, but she did not let the plaintiff out of her cell for

another four hours. When the plaintiff was let out, she saw other

Case 2:04-cv-02788-BBD-dkv Document 3 Filed 05/18/05 Page 7 of 19 Page|D 7

inmates standing at cell doors talking with inmates who were locked
up, so she did the same. Harris told the plaintiff to come away
from the door or she would get a write up, the plaintiff replied
that other inmates were doing the same thing, Harris replied that
she was talking to the plaintiff' not the other inmates, and
plaintiff threatened to write up Harris for being unfair. The
complaint alleges that plaintiff moved away from the cells doors
and went into the shower. Nonetheless, she received a write up for
disobeying a direct order and cursing at Harris. Three days later,
plaintiff says she told the “disciplinary lady” that she had three
witnesses who would testify she did not disobey a direct order. lt
is not clear whether this allegedly statement was uttered during a
disciplinary hearing, and it also is not clear whether the
plaintiff was convicted of this offense and, if so, whether she
appealed her conviction.

On September 8, 2004, plaintiff allegedly observed Harris
beat up a Inental patient, and she reported this incident to
Detective Matthews on September ll, 2004. Thereafter, plaintiff
allegedly heard that Harris had said that she was out to get the
plaintiff.

Plaintiff also complains that there were no cleaning
supplies or soap available on August 8 and 9, 2004.

Fifth, plaintiff complains that, on August 18 or 19,

2004, the “grievance lady” came and spoke to her. Plaintiff

Case 2:04-cv-02788-BBD-dkv Document 3 Filed 05/18/05 Page 8 of 19 Page|D 8

allegedly stated that she had written several grievances and she
related her problem with Harris. The complaint does not disclose
the content of any of those grievances. The grievance officer
stated she would respond to the grievances by August 22, 2004.
lnstead, however, the grievance officer posted rules for inmate
grievance procedures on August 20, 2004, and she never thereafter
responded to any of the unspecified grievances that were submitted
prior to the posting of the rules. The plaintiff complains about
the listing of matters not subject to inmate grievances, including
“[f]inal formal disciplinary or classification, decisions” and
“{a]ctions not yet taken.” Plaintiff alleges she went to the
library on August 8, 2004 to determine whether the new rules were
valid, but she was not provided with a copy of the Jail East rules
and procedures.

Sixth, plaintiff alleges that, on April 29, 2004, she
took two medications that had been prescribed for high blood
pressure and depression. Those medications caused her to sleep
soundly. Plaintiff was asleep when the officer came to do an
armband check, and she was written up for refusing a direct order.
When Sergeant Wright, who is not a party to this action, spoke to
the plaintiff that evening, plaintiff requested that they check
with the medical department to verify that her difficulty waking up
was attributable to her medication. Wright allegedly replied that

it was the plaintiff's responsibility to get something in writing

Case 2:04-cv-02788-BBD-dkv Document 3 Filed 05/18/05 Page 9 of 19 Page|D 9

from the medical department and, if she did so, she would not get
a write up if it happened again. The next day the plaintiff was
locked down, for four hours. Later, the plaintiff got written
verification from the medical department.

Seventh, plaintiff complains that she has not been
allowed to attend religious services since her housing reassignment
on June 8, 2004.

The plaintiff seeks injunctive relief, including the
replacement of defendant lsrael, and monetary damages.

The Sixth Circuit has held that 42 U.S.C. § l997e(a)
requires a federal court to dismiss a complaint without prejudice
whenever a prisoner brings a prison conditions clain1 without
demonstrating that he has exhausted his administrative remedies.
Brown v. Toombs, 139 F.3d 1102 (6th Cir. 1998); see Porter v.
Nussle, 534 U.S. 516, 532 (2002) (“[T]he PLRA's exhaustion
requirement applies to all inmate suits about prison life, whether

they involve general circumstances or particular episodes, and

whether they allege excessive force or some other wrong.”); Booth
v. Churner, 532 U.S. 731 (2001) (prisoner seeking only money

damages must exhaust administrative remedies although damages are
unavailable through grievance system). This requirement places an
affirmative burden on prisoners of pleading particular facts

demonstrating the complete exhaustion of claims. Knuckles El v.

Case 2:04-cv-02788-BBD-dkv Document 3 Filed 05/18/05 Page 10 of 19 Page|D 10

Toombs, 215 F.3d 640, 642 (6th Cir. 2000). To comply with the

mandates of 42 U.S.C. § 1997e{a),

a prisoner must plead his claims with specificity and

show that they have been exhausted by attaching a copy of

the applicable administrative dispositions to the

complaint or, in the absence of written documentation,

describe with specificity the administrative proceeding

and its outcome.
ld; at 642; see also Bovd v. Corrections Corp. of Am., 380 F.3d
989,r 985-96 (6th Cir. 2004) (describing the standard for
demonstrating exhaustion when prison officials fail to respond in
a timely manner to a grievance), cert. deniedr 125 S. Ct. 1639
(2005); Baxter v. Rose, 305 F.3d 486 (6th Cir. 2002) (prisoner who
fails to allege exhaustion adequately may not amend his complaint
to avoid a sua sponte dismissal); Curry v. Scott, 249 F.3d 493,
503-04 (6th Cir. 2001) (no abuse of discretion for district court
to dismiss for failure to exhaust when plaintiffs did not submit
documents showing complete exhaustion of their claims or otherwise
demonstrate exhaustion). Furthermore, § 1997(e) requires the
prisoner to exhaust his administrative remedies before filing suit
and, therefore, he cannot exhaust these remedies during the
pendency of the action. Freeman v. Francis, 196 F.3d 641, 645 (6th
Cir. 1999). Finally, the Sixth Circuit recently held that district

courts are required to dismiss a complaint in its entirety,

pursuant to 42 U.S.C. § 1997e(a), that contains any unexhausted

10

Case 2:04-cv-02788-BBD-dkv Document 3 Filed 05/18/05 Page 11 of 19 Page|D 11

claims. Jones Bev v. Johnson, No. 03-2331, slip op. at 4~7 (6th
Cir. Apr. 27, 2005)f

ln this case, the plaintiff' submitted a copy of a
grievance (Grievance No. 76638) concerning her request for a copy
of the Jail East policies and procedures, which is dated August 8,
2004. Nothing on the face of the document indicates it was received
by the grievance officials at the plaintiff’s prison. As previously
noted, see §pp£a p. 8, the complaint did allege that none of the
outstanding grievances submitted prior to the posting of the Jail
East rules were responded to. Nonetheless, the plaintiff has not
specifically alleged that this grievance was properly submitted to
the grievance officer. Moreover, the plaintiff did not follow a
grievance concerning the direct refusal to give her a copy of the
rules and procedures.

The plaintiff submitted another grievance (Grievance No.
75069), dated August 18, 2004, concerning the opening of her legal
mail. Nothing on the face of this document indicates that it was
received by the appropriate officials at the plaintiff’s prison.
The complaint alleges that no response was received to that
grievance. This allegation is arguably sufficient to exhaust the
plaintiff’s claim concerning the opening of her legal mail. §de,

380 F.3d at 996-97.

 

d This opinion, which will be published in the Federal Reporter, is not
yet available on WESTLAW.

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Case 2:O4-cv-O2788-BBD-dkv Document 3 Filed 05/18/05 Page 12 of 19 Page|D 12

The plaintiff submitted a copy of a grievance (Grievance
No. 75049), dated July 22, 2004, that she allegedly filed
concerning her disciplinary write up for conspiracy. The grievance
requested that the informer also be punished for conspiracy. The
complaint does not allege the outcome of this grievance, and the
general allegation that unspecified grievances submitted prior to
the posting of the rules were never answered is insufficient to
satisfy the plaintiff's burden of demonstrating that the grievance
was properly submitted and was never responded to. Moreover, the
complaint does not allege that the plaintiff appealed her
disciplinary conviction.

Plaintiff also submitted copies of a grievance (Grievance
No. 66693), dated August 6, 2004, concerning Harris's refusal to
let her clean her dirty cell, and of a grievance (Grievance No.
66689), dated August 7, 2004, about having to take recreation while
Harris was the only officer on duty. Nothing on the face of these
grievances indicates they were properly submitted to the grievance
officer. Plaintiff did not submit grievances concerning the noise
on the pod, the failure to let her out of her cell after the
mentally ill inmates had been removed, Harris's statement that she
was out to get the plaintiff, or the failure to provide cleaning
and sanitary supplies.

Finally, the plaintiff submitted a grievance (Grievance

No. 75050), dated May 3, 2004, complaining about the fact that

12

Case 2:O4-cv-O2788-BBD-dkv Document 3 Filed 05/18/05 Page 13 of 19 Page|D 13

counts are sometimes taken in the middle of the night. As the text
of the complaint does not assert any such claim, this grievance is
irrelevant to this action. Moreover, there is no allegation that
the grievance was properly submitted, and the complaint is silent
concerning its resolution.

The foregoing discussion indicates that plaintiff has not
satisfied her burden, of demonstrating that she exhausted her
administrative remedies with respect to each of her claims. Apart
from the numerous claims where no grievance was filed, and the
copies of grievances with no proof they were properly submitted and
no allegation concerning their disposition, the complaint contains
no indication that the plaintiff exhausted his claims against
defendants lsrael and Luttrell, the only individual defendants
named in this action. Moorer v. Price, 83 Fed. Appx. 770, 772 (6th
Cir. Dec. 9, 2003) (plaintiff did not exhaust claim against warden
because his grievance did not identify the warden or articulate any
claim against her); MQMU-___v\k)c>lm, 337 F.3a 720, 733-34 (6th

Cir. 2003}; Curry, 249 F.3d at 504.5

 

5 Although the complaint also asserts that the plaintiff wrote letters
to various persons including lsraelr the Sixth Circuit has repeatedly held that
an inmate must strictly follow the prison grievance procedures. Shephard v.
Wilkinson, 27 Fed. Appx. 526, 527 (6th Cir. Dec. 5r 2001) (“While Shephard
asserts that he has raised his complaints in numerous letters to prison and
public officials, a prisoner must utilize the formal grievance process provided
by the state; he cannot comply with the requirements of § 1997e(a) by informally
presenting his claims.”); Hewell v. Leroux, 20 Fed. Appx. 375, 377 (6th Cir.
Sept. 21, 2001) (same); see also Clark v. Beebe, No. 98-1430, 1999 WL 993979, at
*2 (6th Cir. Oct. 21, 1999) (district court erred in holding that prisoner had
substantially complied with exhaustion requirement by writing a letter to the
U.S. Attorney’s office that eventually made its way to the warden of plaintiff’s
prison). These letters are not, therefore, a substitute for a formal inmate

(continued..»

13

Case 2:O4-cv-O2788-BBD-dkv Document 3 Filed 05/18/05 Page 14 of 19 Page|D 14

The Sixth Circuit has stated that “[a] plaintiff who
fails to allege exhaustion7 of administrative remedies through
‘particularized averments’ does not state a claim on which relief
may be granted, and his complaint must be dismissed sua sponte.”
Baxter, 305 F.3d at 489.6 Moreover, pursuant to the recent decision
in Jones Bey, a district court must dismiss any complaint that
contains unexhausted claims rather than attempting to sever the
exhausted claims. Accordingly, the plaintiff's complaint is subject
to dismissal, in its entirety, without prejudice, pursuant to 42
U.S.C. § l997e(a).

The Court is required to screen prisoner complaints and
to dismiss any complaint, or any portion thereof, if the complaint~

(l) is frivolous, malicious, or fails to state a
claim upon which relief may be granted; or

(2) seeks monetary relief from a defendant who is
immune from such relief.

28 U.S.C. § 1915A(b); see also 28 U.S.C. § l9l5(e)(2)(B). Even
claims that have not been exhausted may be dismissed on the merits.
42 U.S.C. § 1997e(c)(2). Plaintiff’s complaint is subject to
dismissal in its entirety.

As a preliminary matter, the complaint contains no

factual allegations about defendants State of Tennessee and

 

b (...continued)

grievance.

6 As the Sixth Circuit explained, “lf the plaintiff has exhausted his
administrative remedies, he may always refile his complaint and plead exhaustion
with sufficient detail to meet our heightened pleading requirement, assuming that
the relevant statute of limitations has not run.” ld.

14

Case 2:O4-cv-O2788-BBD-dkv Document 3 Filed 05/18/05 Page 15 of 19 Page|D 15

Luttrell. When a plaintiff completely fails to allege any action by
a defendant, it necessarily “appears beyond doubt that the
plaintiff can prove no set of facts which would entitle him to
relief.” §pruvtte v. Walters, 753 F.2d 498, 500 (6th Cir. 1985).
Moreover, the complaint does not appear to state a claim against
the State of Tennessee, as the plaintiff is in the custody of
Shelby County.

Moreover, defendant lsrael cannot be held liable on the
basis of her position at the Jail East, and defendant Luttrell
cannot be held liable on the basis of his position as sheriff of
Shelby County. There is no respondeat superior liability under §
1983. Bellamv' v. Bradlev, 729 F.Zd 416, 421 (6th Cir. 1984).
lnstead,

[t]here must be a showing that the supervisor encouraged
the specific instance of misconduct or in some other way
directly participated in it. At a ndnimum, a § 1983
plaintiff must show that a supervisory official at least
implicitly authorized, approved or knowingly acquiesced
in the unconstitutional conduct of the offending
subordinates.
ldp (citation omitted).

There is no allegation in the complaint that defendants
lsrael and Luttrell had any personal involvement in the various
incidents described in the complaint. Moreover, the only
allegations concerning defendant lsrael are that plaintiff wrote

letters to her regarding various issues. However, a supervisory

official who is aware of the unconstitutional conduct of her

15

Case 2:04-cv-02788-BBD-dkv Document 3 Filed 05/18/05 Page 16 of 19 Page|D 16

subordinates yet fails to act generally cannot be held liable.
Nwaebo v. Hawk-Sawver, 100 Fed. Appx. 367, 369 (6th Cir. Apr. 28,
2004) (“Bivens liability may not be imposed simply because a
supervisor denied an administrative grievance or failed to act
based upon information contained in a grievance”); Shehee v.
Luttrell, 199 F.3d 295, 300 (6th Cir. 1999); Lillard v. Shelbv
Countv Bd. of Educ., 76 F.3d 716, 727~28 (6th Cir. 1996); pfa ppg
v. Claiborne Countv, Tennessee, 103 F.3d 495, 511-12 (6th Cir.
1996) {individual school board members may be held individually
liable for the unconstitutional actions of a teacher “only if state
law, whether provided by statute or judicially implied, empowers
him with some legal obligation to act”). ln this case, the
complaint is devoid_ of allegations that defendants lsrael and
Luttrell “at least implicitly authorized, approved or knowingly
acquiesced in the unconstitutional conduct of the offending
subordinates,” Bellamy, 729 F.2d at 421, or that the allegedly

unconstitutional conduct described in the complaint was the direct

result of either defendant’s failure to perform a function he or

 

she was legally obligated to perform, Doe, 103 F.3d at 511-12.
Accordingly, even if it is assumed that the plaintiff was subjected
to some unconstitutional condition of confinement, defendants
lsrael and Luttrell are not liable to the plaintiff.

Accordingly, the Court DlSMlSSES the complaint in its

entirety, pursuant to 28 U.S.C. §§ 1915(e)(2)(B)(ii) and

16

Case 2:04-cv-02788-BBD-dkv Document 3 Filed 05/18/05 Page 17 of 19 Page|D 17

1915A(b)(l), for failure to state a claim on which relief may be
granted.
lll. Appeal lssues

The next issue to be addressed is whether plaintiff

should be allowed to appeal this decision ip forma pauperis.

 

Twenty-eight U.S.C. § l915(a)(3) provides that an appeal may not be
taken lp fp;ma pauperis if the trial court certifies in writing
that it is not taken in good faith.

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). An appeal is not taken in
good faith if the issue presented is frivolous. ldp Accordingly, it
would be inconsistent for a district court to determine that a
complaint should be dismissed prior to service on the defendants,
yet has sufficient merit to support an appeal ip fp;ma pauperis.
See Williams v. Kullman, 722 F.2d 1048, 1050 n.l (2d Cir. 1983).
The same considerations that lead the Court to dismiss this case
for failure to state a claim also compel the conclusion that an
appeal would not be taken in good faith.

lt is therefore CERTlFlED, pursuant to 28 U.S.C. §
l915(a)(3), that any appeal in this matter by plaintiff is not

taken in good faith and plaintiff may not proceed on appeal lp

forma pauperis.

17

Case 2:04-cv-02788-BBD-dkv Document 3 Filed 05/18/05 Page 18 of 19 Page|D 18

The final matter to be addressed is the assessment of a
filing fee if plaintiff appeals the dismissal of this case.7 ln
McGore v. Wriqqlesworth, 114 F.3d 601, 610-11 (6th Cir. 1997), the
Sixth Circuit set out specific procedures for implementing the
PLRA. Therefore, the plaintiff is instructed that if she wishes to
take advantage of the installment procedures for paying the
appellate filing fee, she must comply with the procedures set out
in McGore and § 1915(b).

For analysis under 28 U.S.C. § 1915(g) of future filings,
if any, by this plaintiff, this is the first dismissal of one of
her cases as frivolous or for failure to state a claim.

iT is so eastern this [7*3 say af May, 2005.

  

 

DONALD \
NITED sTATEs DIsTRICT JUDGE

 

7 Effective November l, 2003, the fee for docketing an appeal is $250.
See Judicial Conference Schedule of Fees, l 1, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

18

 

DIS,ITRCT COURT - WESTERN DISCTRIT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-02788 Was distributed by fax, mail, or direct printing on
May 20, 2005 to the parties listed.

 

Latisha J ones

SHELBY COUNTY JAlL
6201 Hailey Road
l\/lemphis7 TN 38134

Honorable Bernice Donald
US DISTRICT COURT

